
100 N.Y.2d 576 (2003)
SIMONE OGILVIE et al., Appellants,
v.
McDONALD'S CORPORATION et al., Respondents.
Court of Appeals of the State of New York.
Submitted May 19, 2003.
Decided July 2, 2003.
Motion, insofar as it seeks leave to appeal from that part of the Appellate Division order that affirmed the granting of summary judgment to McDonald's Corporation, Vincent Amari and Catherine Norce dismissing the complaint against them, denied; motion, insofar as it seeks leave to appeal from the remainder of the Appellate Division order, dismissed upon the ground that such part of the order does not finally determine the action within the meaning of the Constitution.
